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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                    CASE NO. 13-CR-20048
v.                                                  HONORABLE GEORGE CARAM STEEH

D-1, JESUS HERNANDEZ,

                      Defendant.
                                          /

            ORDER DENYING DEFENDANT’S MOTION FOR JUDGMENT
              OF ACQUITTAL PURSUANT TO RULE 29 OR MOTION
               FOR NEW TRIAL PURSUANT TO RULE 33 (Doc. 89)

       On March 18, 2014, defendant Jesus Hernandez was convicted by a jury of

possession with intent to deliver 50 kilograms or more of marijuana in violation of 21 U.S.C.

§ 841(a)(1), and conspiracy to possess with intent to distribute 50 kilograms or more of

marijuana in violation of 21 U.S.C. § 846. Now before the court is defendant’s motion for

judgment of acquittal pursuant to Federal Rule of Criminal Procedure 29 or for new trial

pursuant to Federal Rule of Criminal Procedure 33. For the reasons set forth below,

defendant’s motion shall be denied.

I.     Rule 29 Motion

       Rule 29 permits a court to set aside a guilty verdict and enter a judgment of

acquittal if it finds that the evidence is insufficient to sustain a conviction. “All reasonable

inferences must be drawn in favor of the jury’s verdict.” United States v. Conatser, 514

F.3d 508, 518 (6th Cir. 2008). The court is not to weigh the evidence, consider credibility,



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or substitute its judgment for that of the jury. United States v. Driver, 535 F.3d 424, 428-29

(6th Cir. 2008) (internal quotations marks and citation omitted). If “any rational trier of fact

could have found the essential elements of the crime beyond a reasonable doubt” then the

motion must be denied. Jackson v. Virginia, 443 U.S. 307, 319 (1978).

       Defendant has failed to establish his burden that the evidence is insufficient to

sustain his convictions. As to the first count, possession of a controlled substance with

intent to distribute, 21 U.S.C. § 841(a)(1), the government was required to prove (1) that

the defendant knowingly or intentionally possessed marijuana, and (2) the defendant

intended to distribute marijuana. Sixth Circuit Pattern Criminal Jury Instructions, § 14.01

(2013); United States v. Russell, 595 F.3d 633, 645 (6th Cir. 2010). Defendant argues that

he did not “know” of the existence of the marijuana until codefendant Cruz-Diaz told him

after the furniture was unloaded, and that the government failed to prove that defendant

“possessed” the marijuana after he learned of its existence, as he was merely present at

the store where the marijuana was located and none of the government’s agents testified

as to personally observing defendant’s actions in the store.

        In this case, the evidence that defendant knowingly possessed marijuana and

intended to distribute it was substantial, especially in light of the aiding and abetting and

Pinkerton instructions given at trial. To prove that defendant was guilty of violating §

841(a)(1) under an aiding and abetting theory, the government need only show (1) the

crime charged in the particular count was committed; (2) the defendant helped commit the

crime, and (3) the defendant intended to help commit or cause the crime. Sixth Circuit

Pattern Jury Instructions § 4.01 (2013); United States v. Dodson, 450 F. App’x 505, 510

(6th Cir. 2011). The government also proceeded under Pinkerton v. United States, 328

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U.S. 640, 646-47 (1946), which holds that a conspirator is liable for the reasonably

foreseeable crimes committed by his coconspirators. The evidence against defendant at

trial was substantial and supports his conviction under a direct, aiding and abetting, or

Pinkerton theory.

       Defendant established the front business to receive the furniture stuffed with 1,200

kilograms of secreted marijuana and wired $10,000 in the name of the front business to

Mexico, the source of origin for the drugs, just two weeks prior to the delivery of the drug

laden furniture. Defendant provided a broker with his personal information for the delivery

of the drug laden furniture which was placed on the border crossing documents. After the

narcotics were detected and intercepted at the border, an agent telephoned the number on

the shipping documents and spoke with defendant. Defendant accepted the delivery of the

furniture, worked for two hours unloading the truck, and did not sign the bill of lading until

all of the furniture was removed. After unloading the truck, he discussed the marijuana with

his codefendant Cruz-Diaz over their lunch break, and went to the hardware store to

purchase tools used to retrieve the hidden drugs. Defendant was in the front business with

his codefendants for hours before agents executed a search warrant and discovered

disassembled furniture and drugs all over the store as well as hammers, pry bars, chisels,

and other tools. The drugs were valued at $2,000,000 which was strong evidence that

defendant knew of their presence for, as the government points out, nobody would ship

1,500 bricks of marijuana to an unknowing recipient. Defendant argues that no agent

testified that he personally observed the defendant removing the marijuana from the

furniture, but the evidence that defendant worked with others to arrange for the packing and

concealment of the drugs and their retrieval was overwhelming.

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       In his reply brief, defendant argues that the government misrepresents the evidence

as to whether defendant admitting that he discussed the marijuana in the furniture at lunch.

Defendant argues that Agent Rose testified that defendant learned about the marijuana

from codefendant Cruz-Diaz after they left the restaurant. Specifically, Agent Rose

testified, “He [defendant] told me in that statement that after he left the restaurant, he

learned that there was marijuana in the furniture. That was while they were still on the

premises of the restaurant. That’s what Mr. Hernandez’s statement [was] to me.” (R. 83,

pg ID 975). Whether defendant admitted that he discussed the marijuana while eating his

lunch or in the parking lot afterwards is of no moment. This slight discrepancy, if it can be

called that, is insignificant. The fact remains that defendant admitted that he knew of the

existence of marijuana over the lunch break, before he went to the hardware store to buy

the tools used to extricate the drugs, and before he returned to the front business and was

there for hours before federal agents executed a warrant and discovered dismantled

furniture and marijuana all over the store.        Defendant also takes issue with the

government’s argument that “nobody would randomly ship $2,000,000 in marijuana to an

unknowing and unknown recipient,” arguing that co-defendant Cruz-Diaz was the knowing

recipient. The evidence established, however, that defendant set up the front company,

leased the space for it, wired money to Mexico, received and helped unload the furniture,

and was in the store for many hours while the furniture was taken apart to remove the

drugs. Taking the record as a whole, the jury’s verdict was well supported by substantial

and competent evidence.

       As to the second count, conspiracy to violate the drug laws, 21 U.S.C. § 846, the

government was required to prove (1) that two or more persons conspired, or agreed, to

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possess with the intent to distribute 50 kilograms or more of marijuana, and (2) that the

defendant knowingly and voluntarily joined the conspiracy. Sixth Circuit Pattern Criminal

Jury Instructions, § 14.05 (2013); United States v. Sliwo, 620 F.3d 630, 633 (6th Cir. 2010).

Again, substantial evidence supported the conspiracy count. The evidence established that

defendant sent $10,000 to Mexico just before the shipment; he established the front

business; he unloaded the drug laden furniture with three other people; he was in the front

business with two other coconspirators while the drugs were removed from the furniture;

he purchased tools used to remove the drugs, and he admitted to police that he discussed

the presence of the marijuana with at least one other coconspirator over the lunch break.

The jury’s verdict on the conspiracy count was supported by sufficient evidence.

II.    Rule 33 Motion

       Under Rule 33, a judge may “grant a new trial if the interests of justice so requires.”

A defendant challenging the sufficiency of the evidence bears the burden of proving that

a new trial should be granted. United States v. Davis, 15 F.3d 526, 531 (6th Cir. 1994).

“When faced with a Rule 33 motion, unlike a motion for judgment of acquittal under Rule

29, the court may weigh the evidence and assess the credibility of the witnesses.” United

States v. Matthews, 298 F. App’x 460, 465-66 (6th Cir. 2008). A new trial should be

granted where “the [jury’s] verdict was against the manifest weight of the evidence.” United

States v. Crumb, 187 F. App’x 532, 536 (6th Cir. 2006). Rule 33 motions on the weight of

the evidence grounds may be granted “only in extraordinary circumstances where the

evidence preponderates heavily against the verdict.” United States v. Hughes, 505 F.3d

578, 592-93 (6th Cir. 2007) (internal quotations marks omitted).



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       A.     Weight of Evidence

       Defendant reiterates his arguments in support of his Rule 29 motion, and argues that

the manifest weight of the evidence does not support his convictions because there is no

evidence of his knowledge or intent or agreement. For the reasons discussed above, the

evidence was sufficient to support his convictions and a new trial is not warranted.

       B.     Duress Defense

       Defendant argues that the court erred in granting the government’s motion in limine

to exclude his proffered duress defense. The defense of duress is available only in “rare

situations” and “should be construed very narrowly.” United States v. Howe, 289 F. App’x

74, 77 (6th Cir. 2008) (citing United States v. Singleton, 902 F.2d 471, 472-73 (6th Cir.

1990). The Sixth Circuit has set forth a five-part test for determining if a defendant has met

his prima facie case of establishing a duress defense. Defendant must introduce some

evidence as to each of the five elements set forth below:

       (1)    that defendant was under an unlawful and present, imminent, and impending
              threat of such a nature as to induce a well-grounded apprehension of death
              or serious bodily injury;

       (2)    that the defendant had not recklessly or negligently placed himself in a
              situation in which it was probable that he would be forced to choose the
              criminal conduct;

       (3)    that the defendant had no reasonable, legal alternative to violating the law,
              a chance both to refuse to do the criminal act and also to avoid the
              threatened harm;

       (4)    that a direct causal relationship may be reasonably anticipated between the
              criminal action taken and the avoidance of the threatened harm;

       (5)    that defendant did not maintain the illegal conduct any longer than absolutely
              necessary.



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United States v. Johnson, 416 F.3d 464, 468 (6th Cir. 2005) (emphasis in original). The

court held an evidentiary hearing and heard testimony from defendant. At the conclusion

of the hearing, the court granted the government’s motion in limine on the record, finding

that defendant had failed to establish any of the elements necessary to prove his prima

facie case. In sum, the court concluded that defendant’s fear was based upon nothing

more than a generalized speculative threat which was insufficient under the case law to

establish a defense of duress.

       Now defendant argues that the Sixth Circuit’s recent decision in United States v.

Jones, 554 F. App’x 460 (2014) required this court to allow him to present a duress defense

and that he should have been allowed to present evidence that Mexican drug traffickers in

general are known for violence. In Jones, the district court allowed the defendant to

present a duress defense at trial, finding that he had satisfied his prima facie case through

testimony that defendant pulled out a pistol and threatened to shoot him if he would not

assist in the arson, but barred the defendant from introducing evidence that his

codefendant had a reputation for violence, and from presenting other evidence of specific

violent acts that his codefendant had carried out. Id. at 463-64. The Sixth Circuit reversed,

ruling that defendant should have been allowed to introduce evidence of his codefendant’s

prior assaults against him and others, and of his reputation for violence, in order to prove

that he had a legitimate fear that his codefendant would carry out his threat to shoot him

if he did not participate in the arson. Id. at 470.

       In contrast to Jones, in this case, defendant did not testify that any of his

codefendants pulled out a pistol and threatened to shoot him if he did not participate in the

drug conspiracy, nor did he testify that his codefendants committed specific prior assaults

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or that they had a reputation for violence which would have put him in fear of his life or of

serious bodily injury. Defendant merely complained that Mexican drug traffickers pose a

generalized threat of violence, which was insufficient to satisfy the first element of his prima

facie case. Here, defendant also failed to establish the second four elements of his prima

facie case as after unloading the furniture for two hours, he left to purchase tools to remove

the drugs at a hardware store, and then returned separately and worked to remove the

drugs from the furniture for several hours. In short, he had multiple opportunities to stop

unloading the drugs, to leave the store, and to call the police. Jones does not alter the

court’s conclusion in this case that plaintiff failed to establish his prima facie duress

defense.

                                          Conclusion

       For the reasons set forth above, defendant’s motion for judgment of acquittal or for

a new trial (Doc. 89) is DENIED.

       IT IS SO ORDERED.

Dated: December 17, 2014
                                             s/George Caram Steeh
                                             GEORGE CARAM STEEH
                                             UNITED STATES DISTRICT JUDGE


                                   CERTIFICATE OF SERVICE

                    Copies of this Order were served upon attorneys of record on
                      December 17, 2014, by electronic and/or ordinary mail.

                                       s/Marcia Beauchemin
                                           Deputy Clerk




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